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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

 

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JUAN ANTHONY REYES JR. , S;;~PU?.Y CLERK C
Petitioner, CV NO.: 5:13-CV-l73-C

VS. MOTION FOR RECONSIDERATION

UNITED STATES OF AMERICA,

Respondents.

 

NOW COMES, JUAN ANTHONY REYES, in pro se and without the
benefit of counsel and does herein request in pro se upon his
Motion for Reconsideration ," of the transfering the cause,
per order Dated August 01, 2013 to the United States Court of
Appeals for the Fifth Circuit Court of Appeals. (See Attached
Order)

For Cause: This Court determined that the Petitioner's
Section § 2255(f)(3) Motion was A "second or Successive Motion,
Application to Vacate, Set Aside and or Correct Sentence." The
Petitioner avers that his motion under 2255(£)(3) is not a Second
or Successeive Motion under Title 28 U.S.C. 2255(£)(2) and 28
U.S.C. Section 2255(h)(2).

Furthermore, this Court was to give due notice before it's

recharacterization that it was going to recharacterize Reye's

 

 

 

 

 

 

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Motion as a Second or Successive Application and transfer it
to the United States Court of Appeals for the Fifth Circuit.
Because Reye's avers that he is entitled to file a Section
§ 2255(f)(3) motion with this Court, he does not need permission
to file a Second or Successive Motion, because 28 U.S.C. Section
§ 2255(f)(3) gives this Court explicit jurisdiction to entertain

Reye's claims. See Weigard v. United States, 380 F.3d 890, 892

 

(6th Cir 2004); United States v. Tuten, 2008 U.S. Dist Lexis

90896 (4th Dist 2008) see also Dodd v. United States, 365 F.3d

1273, 1278 (llth Cir 2004)(noting that 'every circuit to consider
this issue has held that a Court other than the supreme Court

can make a retroactivity decision for purposes of Section 2255(f)(3).
aff'd, 545 U.S. 353, 125 S.Ct 2478, 162 L.Ed 2d 343 (2005); United<%MM
State v. Swinton, 33 F. 3d 481, 486-87 (3d Cir 2003); see also;
Fischer v. United States, 285 F.3d 596, 599-600 (7th Cir 2002);
United States v. Lopez, 248 F.3d 427 (5th Cir 2001).

Wherefore, this Court's decision to transfer the case to
the Fifth Circuit was in err and should have at most given
Reye's a Castro, Order.

WHEREFORE, REYES request that this Court reconsider it
transfering the cause to the Fifth Circuit Court of Appeals and
entertain jurisdiction over Reyes 28 U.S.C. Section 2255 (f)(3)

Motion in light of the arguments set forth therein.

RESBE€§:::PY SUBML$TED
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JUAN/AZ REYES `/
Reg No.; 31910-177
FCI wILLIAMsBURG
P.O.Box 340

Salters, S.C. 29590

Petitioner/pro se

Case 5:13-cv-00173-C Document 5 Filed 08/12/13 Page 3 of 5 Page|D 37

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was mailed

to the following parties:

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RESPECTFULLY SUBMITTED

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QUAN“KNTHONY REYES

FCI WILLIAMSBURG
P.O.Box 340
Salters, S.C. 29590

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBocK DrvIsIoN
,JUAN ANTHONY REYES, JR., j
' )
Movant, ) CIVIL ACTION NO.
) 5;13-cv-173-C
v. ) cRIMINAL No. y
) , 5;05-cR-083-02-c
UNITED sTATEs oF AMERICA, )
)
Respondent. ) _

Q__RD_EB.

On July 31, 2013, Juan Anthony Reyes, Jr. (“Movant”) filed a Motion Under 28 U.S.C.
§ 2255 to Vacate, Set Aside, or Correct Sentence By a Person in Federal Custody. Movant
previously filed a Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255
on Auéust 27, 2007, in Civil Action No. 5:07-CV-185-C. Because Movant has not received
permission from the United States Court of Appeals for the Fifth Circuit to file a second or
successive motion to vacate, this Court is without jurisdiction'to consider Movant’s Motion filed
July 31, 2013.

IT IS, THEREFORE, ORDERED that the above-styled and -numbered cause is
TRANSFERRED to the United States Court of Appeals for the Fifth Circuit.

Dated August l, 2013.

 

 

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